                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE

 
IN RE:                                        )
                                              )      Chapter 7 Proceeding
WILLIAM BERNICE YOUNG,                        )      Case No. 3:17-08092
SS#: XXX-XX-0841                              )      Charles M. Walker, Judge
2819 LEBANON PIKE                             )
NASHVILLE, TN 37214                           )
                                              )
      Debtor.                                 )

Objection Deadline July 20, 2018
Hearing July 31, 2018 in Courtroom 2, Customs House Building, 701 Broadway,
Nashville, TN 37203


    OBJECTION TO NOTICE OF PROPOSED SALE AND REQUEST FOR A
                      HEARING THEREON


         Comes the Debtor and objects to the sale by the Trustee of 1104 Lenore Street, Nashville,

Tennessee due to the fact that there are higher bids being made. Accordingly, a hearing is sought.



LEFKOVITZ & LEFKOVITZ

/S/ STEVEN L. LEFKOVITZ
STEVEN L. LEFOVITZ, #5953
Attorney for Debtor
618 Church Street, Suite 410
Nashville, Tennessee 37219
Phone: (615) 256-8300
Fax: (615) 255-4516
Email: slefkovitz@lefkovitz.com




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                               CERTIFICATE OF SERVICE



       I hereby certify that I have sent a true and exact copy of the foregoing to Assistant U.S.
Trustee, and all other parties of record to receive notice electronically via the United States
Bankruptcy Court’s CM/ECF system, this 20th day of July, 2018.



                                            /S/ STEVEN L. LEFKOVITZ

                                                    Steven L. Lefkovitz




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